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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                     )
                                              )
               v.                             )       Case No.: 1:18-cr-218 (TSC)
                                              )
MARIIA BUTINA, a/k/a                          )
MARIA BUTINA,                                 )
                                              )
        Defendant.                            )
                                              )

               DEFENDANT MARIA BUTINA’S REPLY TO THE
    GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION FOR BOND REVIEW

        Defendant Maria Butina submits this reply to the government’s opposition (Doc. 26) to her

motion for bond review, stating the following.

        The government’s opposition (Doc. 26) is an extraordinary document that reeks of

desperation. On page 19 of a 22-page brief filed near midnight, the government shamelessly admits

it had no factual basis for a proffer made in court that Maria Butina “offered . . . sex” in exchange

for a position with a public interest organization.1 This concession, made even more remarkable

because of the government’s request to gag defense counsel from pointing out this falsity to the

media (Docs. 22 and 24), is paired with another unashamed admission of a fictitious proffer the

government championed overtly but now buries in a footnote on page 19. At the detention hearing,

the government previously stated that Ms. Butina applied for a tourist visa after graduation to



1
  Furthermore, none of the so-called “other communications and materials” provided to the defense
(Doc. 26 at 19) bear any relevance to the initial claim that Maria offered to trade sex for access
and power. Rather, it appears the government simply trolled five-years worth of a 20-something
year-old’s conversations and are now, based on AUSA Erik Kenerson’s latest email of September
9, 2018 (which the defense can make available to the Court on request), threatening to disclose
those documents “if the Court inquires further regarding your client’s relationship with US Person
1”—a veiled threat if her lawyers dare to raise the issue again. The government’s documents do
nothing to discredit the sincerity of her relationship with Paul Erickson, and its craze with her sex
life has gone too far and transformed into an irrelevant obsession.
                                                  1
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imply she was not planning to work in the United States but instead “travel to and from the United

States.” (Doc. 8 at 8.) In truth, she applied for and received OPT status—a work authorization for

student graduates to join the American workforce for one year and get practical training that

complements their education—a fact that carries a very different implication about her future plans

in the United States and undermines the government’s fear of her bolting to Russia.

       Both of these fabrications made in open court are either the product of a stunning disinterest

in reading the documents already in the government’s possession or a craven willingness to

mislead the court—and the public—in an attempt to detain a woman convicted of no crime.

Whatever the reason, it is nothing short of cowardice to make false proffers to much fanfare only

to deny them later in a mere sentence or footnote.

       In a desperate attempt to conjure up facts to replace its now-conceded false ones, the

government now makes assertions that are frankly shocking coming from an agency of the United

States. Apparently oblivious to the terms of the Vienna Convention, international law, or our U.S.

State Department practices, the government contends that Maria Butina is likely to flee because

she received “six consular visits” to inquire about her health and wellness, and because the Russian

Foreign Ministry “twice” expressed concern about her arrest and condition, as well as changed its

Twitter account avatar. (Doc. 26 at 5.) Momentarily setting aside the fact that “[o]ne of the highest

priorities of the Department of State and U.S. embassies and consulates abroad is to provide

assistance to U.S. citizens incarcerated abroad,”2 Maria is confined in a small cell, in isolation,

without fresh air, in a foreign country, for 22-hours a day. She is relieved from her cell to shower

and call her parents once at 1:00am and again at 11:00am. Americans detained abroad, who receive



2
  U.S. Department of State—Bureau of Consular Affairs, Arrest or Detention of a U.S. Citizen
Abroad, available at https://travel.state.gov/content/travel/en/international-
travel/emergencies/arrest-detention.html (last visited Sep. 9, 2018).
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regular consular visits from U.S. Foreign Service Officers and have State Department inquiries

made on their behalves, would be aghast to learn that their own government is taking the position

that consular visits from home and for comfort is proof of flight or some sort of intelligence

connection.

       Having run roughshod over international legal norms, the government turns its attention to

bulldozing domestic ones. It argues that Ms. Butina’s relationship with her boyfriend Paul

Erickson is insincere because she agreed to a proffer session with FBI agents in an investigation

related to him. (Doc. 26 at 3.) By extension, the U.S. Attorney’s Office for the District of Columbia

suggests that true love means never cooperating with federal investigations and that only a

“duplicitous” partner would offer an interview with government agents or provide truthful

evidence. The government’s attempt to punish Maria for choosing to cooperate with a federal

investigation—like a gang member would punish a witness for snitching—is jaw dropping. The

Court should deny the government’s invitation to endorse its “snitches get stiches” argument as

unlawful and a wrongful contention that providing evidence or testimony to the government is

disloyal rather than upstanding. Moreover, as the FBI is aware from conversations with counsel,

Maria has little to no information about that matter, and her proffer would have been immaterial

to the investigation.

       The government nonetheless argues that Maria should be held pretrial because other

persons in other cases evaded prosecution by absconding from Cyprus, Sri Lanka, and Greece.

However, these events are of no significance because they have nothing to do with Maria Butina’s

individualized risk of flight, and the Court should ignore this argument as an irrelevant parade of

horrors.




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       Despite all of its proven falsehoods and overblown claims discussed above, the government

still urges the Court to rely on its proffers of cherry-picked messages and often impermissibly

suggestive translations as accurate. The Court should not give credence to such proffers.

       In response to a few of its claims, the government makes much of individual instances

where Ms. Butina states she is ‘awaiting orders’ without acknowledging that it is a common idiom

in her conversation to convey polite manners and respect. According to government translators,

Maria also sought “orders” from Aleksandr Torshin for souvenirs and gifts. For example, on June

24, 2015:

               MB:    Should I buy things for the little kids this time?

               AT:    I don’t know yet.

               MB:    I’m awaiting orders. Always ready, if something’s needed.

       With regard to whom the government has ominously referred to as “Political Candidate 1”

(at 8), Maria attended his announcement to run for president at the invitation of an American. No

one from the Russian Federation directed or instructed her to go. Like hundreds of others, she

listened to the candidate’s speech, shook his hand, and had her picture taken with him. Energized

by the excitement of witnessing history and charmed by American culture and politics, she retold

the event to her family and friends, including Aleksandr Torshin, who humored her with a request

to ‘tell me about it.’ There was no sinister subversion of American politics. Just an innocent

intellectual curiosity. As for the email contact found on her phone from “an FSB-associated

domain,” the single correspondence was a reply to Maria Butina as the founder of her gun rights

group, The Right to Bear Arms. Her organization had made submissions to numerous Kremlin

departments and state agencies, including the FSB, to lobby for better gun laws and rights in

Russia. The FSB provided a standard reply, noting it would take the matter under advisement.



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         Finally, the government fills the remaining pages of its brief in support of detention by

revealing its troubling theory of prosecution and its belief that it does not need to prove Maria

Butina was an intelligence agent, she did anything covert, she acquired any classified or nonpublic

material, or did any other underlying illegal activity. The government’s case triggers constitutional

issues for which a motion to dismiss is forthcoming. However, setting aside these issues, the case

is a reach for the government because it is essentially trying to prove that this graduate student—

who (a) is not and has never been paid or employed by the Russian Federation; (b) genuinely

believes and desires peace and better U.S.-Russia relations; (c) dreams of a future career in

international relations; (d) attends publicized dinners about better U.S.-Russia relations at the

request and organization of American citizens; (e) attends public events at the invitation of other

American citizens; (f) networks for her own self-interests like other Washingtonians in the District;

(g) takes pictures for keepsakes to be posted on social media like thousands of other millennials;

(h) keeps a diary adorned by colorful stickers where she records her daily events and hopes and

dreams for the future; and (i) shares her excitement about American culture and happenings with

her friend and mentor in Russia, who happens to also have an interest in gun rights, peace and

better relations, and takes personal time off from his government job to travel to the United States

(alone and without an embassy vehicle, embassy support staff, embassy escort, interpreter, or any

other typical amenity for a “senior” official (Doc. 26 at 1)) to attend civil society groups with

members of similar beliefs—can be convicted of 18 U.S.C. §§ 371 and 951.

         The bottom line is that the government has a legally and factually weak case based upon

an esoteric theory brought against young woman, who is trying to start a life in America, not an

intelligence agent, and has demonstrated that she is not a flight risk. She should be released pending

trial.



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       Our “system of criminal justice embraces a strong presumption against detention.” Liberty

is the norm, not detention prior to trial. United States v. Hanson, 613 F. Supp. 2d 85, 87 (2009)

(quoting United States v. Salerno, 481 U.S. 739, 755 (1987)); see also 18 U.S.C. §§ 3142(b) and

3142(c)(1)(B) (a defendant “shall” be released on personal recognizance or upon the “least

restrictive further condition or combination of conditions” that will reasonably assure her

appearance). The central question before this Court is whether there are any conditions that the

“judge might find useful” to “reasonably assure that the defendant will appear for trial.” United

States v. Xulam, 84 F.3d 441, 442 (D.C. Cir. 1996). The answer to that question is yes.

Dated: September 9, 2018                     Respectfully submitted,

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